                IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

UNITED STATES OF AMERICA               )
                                       )
Plaintiff,                             )
                                       )
    v.                                )     Case No. 20-00005-CR-W-HFS
KYLE K. KESSLER                        )
                                       )
                                       )
                                       )
Defendant.                             )

                                      ORDER

      At a Change of Plea Hearing held on October 15, 2020, before Magistrate

Judge W. Brian Gaddy, defendant entered a plea of guilty pursuant to

Fed.R.Crim.P. 11 to Count 1 of the Indictment – that is, being a felon in possession

of a firearm.

      In a Report and Recommendation dated October 15, 2020 (Doc. 25), after

cautioning and examining defendant under oath concerning the requirements of

Rule 11, Judge Gaddy determined that the guilty plea was knowledgeable and

voluntary and that the offense charged was supported by an independent basis in

fact containing each of the essential elements of such offense.



        Case 4:20-cr-00005-HFS Document 28 Filed 11/05/20 Page 1 of 4
      After review of the hearing record (and in the absence of objections) I

ADOPT the Report and Recommendation (Doc. 25) and ACCEPT defendant’s guilty

plea and direct the Clerk to enter it. A Presentence Investigation Report shall be

filed within 120 days.




                                             s/ HOWARD F. SACHS        __
                                             HOWARD F. SACHS
                                             United States District Judge

Dated: November 5, 2020
Kansas City, Missouri




             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                          WESTERN DIVISION


        Case 4:20-cr-00005-HFS Document 28 Filed 11/05/20 Page 2 of 4
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        Case 4:20-cr-00005-HFS Document 28 Filed 11/05/20 Page 3 of 4
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                                             _____________________ ____
                                             HOWARD F. SACHS
                                             United States District Judge

Dated: November , 2020
Kansas City, Missouri




        Case 4:20-cr-00005-HFS Document 28 Filed 11/05/20 Page 4 of 4
